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              EXHIBIT 1
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                            DECLARATION OF MATTHEW GRIMES


       I, Matthew Grimes, declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the

following is true and correct:

       1.         I testified before a Federal Grand Jury on March 23, 2018 and April 6, 2018.

       2.         During my testimony, I was questioned by Zainab N. Ahmad, one of the

prosecutors for the Office of Special Counsel, in which she asked several questions relating to

Elliott Broidy.

       3.         I do not object to the release of limited portions of the transcript of my Grand Jury

testimony reflecting Ms. Ahmad’s questions and my answers relating to Mr. Broidy.


                        09 day of March 2023.
       Executed on this ___


                                                     ___________________________
                                                     Matthew Grimes
